Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 1 of 65 PageID: 190
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 2 of 65 PageID: 191




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 3 of 65 PageID: 192




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 4 of 65 PageID: 193




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 5 of 65 PageID: 194




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 6 of 65 PageID: 195




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 7 of 65 PageID: 196




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 8 of 65 PageID: 197




                                                                       
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 9 of 65 PageID: 198




                                                                       000008
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 10 of 65 PageID: 199




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 11 of 65 PageID: 200




                                                                        000010
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 12 of 65 PageID: 201




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 13 of 65 PageID: 202




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 14 of 65 PageID: 203




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 15 of 65 PageID: 204




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 16 of 65 PageID: 205




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 17 of 65 PageID: 206




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 18 of 65 PageID: 207




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 19 of 65 PageID: 208




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 20 of 65 PageID: 209




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 21 of 65 PageID: 210




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 22 of 65 PageID: 211




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 23 of 65 PageID: 212




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 24 of 65 PageID: 213




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 25 of 65 PageID: 214




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 26 of 65 PageID: 215




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 27 of 65 PageID: 216




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 28 of 65 PageID: 217




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 29 of 65 PageID: 218




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 30 of 65 PageID: 219




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 31 of 65 PageID: 220




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 32 of 65 PageID: 221




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 33 of 65 PageID: 222




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 34 of 65 PageID: 223




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 35 of 65 PageID: 224




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 36 of 65 PageID: 225




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 37 of 65 PageID: 226




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 38 of 65 PageID: 227




                                                                        000037
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 39 of 65 PageID: 228




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 40 of 65 PageID: 229




                                                                       000039
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 41 of 65 PageID: 230




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 42 of 65 PageID: 231




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 43 of 65 PageID: 232




                                                                       000042
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 44 of 65 PageID: 233




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 45 of 65 PageID: 234




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 46 of 65 PageID: 235




                                                                       000045
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 47 of 65 PageID: 236




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 48 of 65 PageID: 237




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 49 of 65 PageID: 238




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 50 of 65 PageID: 239




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 51 of 65 PageID: 240




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 52 of 65 PageID: 241




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 53 of 65 PageID: 242




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 54 of 65 PageID: 243




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 55 of 65 PageID: 244




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 56 of 65 PageID: 245




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 57 of 65 PageID: 246




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 58 of 65 PageID: 247




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 59 of 65 PageID: 248




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 60 of 65 PageID: 249




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 61 of 65 PageID: 250




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 62 of 65 PageID: 251




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 63 of 65 PageID: 252




                                                                        
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 64 of 65 PageID: 253




                                                                       000063
Case 3:17-cv-03755-FLW-DEA Document 12-1 Filed 06/05/17 Page 65 of 65 PageID: 254




                                                                        
